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                           IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF NEW JERSEY


                                                            Civil Action No. _________________
  Channel Methods Partners, LLC,
  a New Jersey limited liability company
                                                            NOTICE OF REMOVAL
                              Plaintiff,
  v.

  Pharmatec, Inc.,
  a Colorado corporation

                              Defendant.

           1.       Defendant Pharmatech, Inc. (“Pharmatech” or “Defendant”) in the above-titled

  action, hereby removes this matter from the Superior Court of New Jersey, Monmouth County

  Law Division, to the United States District Court for the District of New Jersey, pursuant to 28

  U.S.C. § 1332, § 1441, and § 1446. 1 Defendant respectfully asserts the following facts to

  support removal and, in so doing, expressly reserves all other questions related to the merits of

  Plaintiffs’ claim for further pleadings.

                                           I.   BACKGROUND

           2.       On or about July 22, 2014, Plaintiff Channel Method Partners, LLC (“Plaintiff”)

  filed a civil action (“Complaint”) against Pharmatech, captioned Channel Method Partners, LLC

  v. Pharmatech, Inc., Case No. MON-L-2857-14, in the Superior Court of New Jersey,

  Monmouth County Law Division (the “Superior Court of New Jersey”). Pharmatech was faxed

  1
   Nothing herein is intended to waive any of Defendant’s claims, rights, arguments and/or
  defenses, and Defendant expressly reserves all claims, rights arguments and defenses to each of
  the claims filed in Case No. Mon-L-2857-14, in the Superior Court of New Jersey.


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  a copy of the summons and the Complaint on July 28, 2014, and was served on or around July

  31, 2014.

           3.       In the Complaint, Plaintiff asserts the following claims:

                       •   Count One – Breach of Contract;

                       •   Count Two – “Bad Faith Dealings”;

                       •   Count Three – “Tortuous Interference of Contract with Employees”;

                       •   Count Four – “Tortuous Interference of Prospective Economic
                           Advantage”;

                       •   Count Five – Unjust Enrichment; and

                       •   Count Six – Account Stated.

           4.       Counts one through six all seek compensatory damages, costs of litigation

  (including expert fees), and such other relief as is just and fair. Counts two through four

  additionally seek punitive damages and attorney fees.

                     II.     COMPLIANCE WITH THE REMOVAL STATUTE

           5.       This Notice of Removal is properly filed in the United States District Court for

  the District of New Jersey, pursuant to 28 U.S.C. §§ 1441(a) and 1446(a), because the Superior

  Court of New Jersey is located in this federal judicial district. This Notice is signed pursuant to

  Rule 11 of the Federal Rules of Civil Procedure.

           6.       This Notice of Removal is timely filed in accordance with 28 U.S.C. § 1446(b).

           7.       Written notice of the filing of this Notice of Removal will be provided to Plaintiff,

  and a copy of this Notice of Removal will be filed in the appropriate state court, as required by

  28 U.S.C. § 1446(d).




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           8.       Pursuant to 28 U.S.C. § 1446(a) and D.N.J. L.Civ.R. 5(1)(e), Defendant is filing

  concurrently herewith, in PDF format, each of the following documents:

                 a.     Summons, Complaint, Civil Case Information Statement in Channel
           Methods Partners, LLC v. Pharmatec, Inc., Superior Court of New Jersey, Monmouth
           County Law Division, Case No. MON-L-2857-14 (Exhibit A);

                    b.      Civil Cover Sheet (Exhibit B); and

                    c.      Declaration of Robert Bohacs (Exhibit C)

           There are no additional pleadings, process, orders, or other documents that have been

  served on Pharmatech in the Superior Court of New Jersey case.

                                  III.    GROUNDS FOR REMOVAL

           9.       This action is removable to this Court pursuant to 28 U.S.C. § 1441 and §1446 in

  that it is an action over which the District Courts of the United States have original jurisdiction

  under 28 U.S.C. § 1332. There is complete diversity of citizenship between Plaintiff and

  Defendant. Moreover, the amount in controversy exceeds $75,000.

           10.      The parties are citizens of separate states. Plaintiff is, and at all relevant times has

  been, a New Jersey limited liability company and resident of New Jersey, with its principal place

  of business in New Jersey. See Complaint at ¶ 1. At all relevant times, Plaintiff has been and is

  a citizen of New Jersey. Defendant is, and at all relevant times has been, a Colorado corporation

  and a resident of Colorado with its principal place of business in Denver, Colorado. Id. at ¶ 2.

  At all relevant times, Defendant has been and is a citizen of Colorado.

           11.      The amount in controversy exceeds $75,000.

           12.      The Complaint does not state the amount of damages sought. However, the

  contract at issue between Plaintiff and Defendant called for a twelve-month engagement between



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  Plaintiff and Defendant, with $6,568.00 to be paid monthly by Defendant to Plaintiff, and an

  additional $3,510.00 to be paid by Defendant to Plaintiff at the outset of the contract term; as

  such, the contract value totals $82,326.00. See Declaration of Robert Bohacs, attached hereto as

  Exhibit C, at ¶ 3.

           13.      Additionally, the Complaint alleges that Defendant tortuously interfered with a

  purported contract(s) between Plaintiff and its employees. Complaint at ¶¶ 23-28. The specific

  value of that contract(s) or the amount of such claim is not alleged in the Complaint, but

  whatever the value or damages amount, it purports to be separate and in addition to the value of

  the contract between Plaintiff and Defendant.

           14.      The Complaint also alleges that Defendant “has taken the proprietary business

  information designed and developed by CMP, [and] all of CMP’s business contact information. .

  . .” Complaint at ¶ 30. Plaintiff has not alleged an amount of damages associated with such

  claim, but whatever the amount, it purports to be separate and in addition to the value of the

  contract between Plaintiff and Defendant, and the value of the contract(s) between Plaintiff and

  its employees.

           15.      Additionally, Plaintiff seeks punitive damages in three of its claims for relief.

  Alleged punitive damages “must” be considered “when calculating the amount in controversy[,]”

  for purposes of diversity jurisdiction. Frederico v. Home Depot, 507 F.3d 188, 199 (3rd Cir.

  2007) (citing Golden v. Golden, 382 F.3d 348, 356 (3d Cir. 2004)).

           16.      Plaintiff also seeks attorney fees as damages in three of its claims for relief.

  Alleged attorney’s fees “must” also be considered in determining the amount in controversy.

  Frederico, 507 F.3d at 199. Although it is difficult to determine what those fees could total, in


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